     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 1 of 9 Page ID #:1



 1 PACIFIC TRIAL ATTORNEYS
   A Professional Corporation
 2 Scott J. Ferrell, Bar No. 202091
   sferrell@pacifictrialattorneys.com
 3 4100 Newport Place Drive, Ste. 800
   Newport Beach, CA 92660
 4 Tel: (949) 706-6464
   Fax: (949) 706-6469
 5
      Attorneys for Plaintiff
 6

 7

 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    RODGER FADNESS, an individual,           Case No. 8:18-cv-1269
12                 Plaintiff,                  COMPLAINT FOR VIOLATION OF
                                               THE AMERICANS WITH
13                 vs.                         DISABILITIES ACT AND THE
                                               UNRUH CIVIL RIGHTS ACT
14 ARIZONA LEATHER COMPANY, INC.,
   a California corporation; and DOES 1 – DEMAND FOR JURY TRIAL
15 10, inclusive,

16                 Defendants.
17

18

19

20

21

22

23

24

25

26
27

28

                                          COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 2 of 9 Page ID #:2



1           Plaintiff Rodger Fadness (“Plaintiff”) complains and alleges as follows:
2                                   JURISDICTION AND VENUE
3           1.     This Court has subject matter jurisdiction of this action pursuant to 28
4     U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the
5     Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.
6           2.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over
7     Plaintiff’s pendent claims under the California Unruh Civil Rights Act, Cal. Civil Code
8     § 51 et seq. (“Unruh Act”).
9           3.     Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391 because
10    Plaintiff resides in this District, Defendant is subject to personal jurisdiction in this
11    District, Defendant’s offending Arizona Leather location at The Market Place, located
12    at 2866 El Camino Real, Tustin, California 92782 (“Arizona Leather Tustin”), is
13    located in this District, and a substantial portion of the conduct complained of herein
14    occurred in this District.
15                                           PARTIES
16          4.     Plaintiff Rodger Fadness is an individual adult resident of this District.
17    Plaintiff qualifies as an individual with disabilities. Plaintiff requires a wheelchair for
18    mobility. Plaintiff has visited, and regularly patronizes, the Arizona Leather Tustin,
19    and has personally encountered accessibility barriers and experienced disability
20    discrimination at the Arizona Leather Tustin as more fully set forth below. Plaintiff is
21    being deterred from patronizing the Arizona Leather Tustin on particular occasions, but
22    intends to return to the Arizona Leather Tustin for the dual purpose of availing himself
23    of the goods and services offered to the public at the Arizona Leather Tustin and to
24    ensure that the Arizona Leather Tustin ceases evading its responsibilities under federal
25    and state law.
26          5.     Plaintiff is informed and believes, and upon such information and belief
27    alleges, that Defendant Arizona Leather Company, Inc. (“Defendant”) is a California
28    corporation with its principal places of business located at 4235 Schaefer Avenue,
                                                  -1-
                                              COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 3 of 9 Page ID #:3



1     Chino, California 91710. Plaintiff is informed and believes, and upon such information
2     and belief alleges, that Defendant, at all times relevant, conducted business in the State
3     of California and within the Central District of California. Arizona Leather Tustin is a
4     place of public accommodation pursuant to 42 U.S.C. § 12181(7)(F).
5           6.     Plaintiff has been, and continues to be, adversely affected by Defendant’s
6     violations of the laws of the United States and the State of California at the Arizona
7     Leather Tustin. Plaintiff has suffered direct and indirect injury as a result of the
8     Defendant’s actions and/or omissions as described herein. Plaintiff has reasonable
9     grounds to believe that Defendant will continue to subject them to the direct and
10    indirect injury described herein based on Defendant’s ongoing failure to bring existing
11    Arizona Leather Tustin facilities into compliance.
12          7.     The true names and capacities of the Defendants sued herein as DOES 1
13    through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
14    Defendants by fictitious names. Each of the Defendants designated herein as a DOE is
15    legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
16    Court to amend this Complaint to reflect the true names and capacities of the DOE
17    Defendants when such identities become known.
18          8.     At all relevant times, each and every Defendant was acting as an agent
19    and/or employee of each of the other Defendants and was acting within the course
20    and/or scope of said agency and/or employment with the full knowledge and consent of
21    each of the Defendants. Each of the acts and/or omissions complained of herein were
22    alleged and made known to, and ratified by, each of the other Defendants (Arizona
23    Leather Company, Inc. and DOE Defendants will hereafter collectively be referred to as
24    “Defendant”).
25                                 FACTUAL BACKGROUND
26          9.     Plaintiff Fadness, a disabled, mobility-impaired person who requires a
27    wheelchair for mobility, regularly patronizes the Arizona Leather Tustin and has
28
                                                 -2-
                                             COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 4 of 9 Page ID #:4



1     regularly encountered, and continues to encounter, access barriers at the Arizona
2     Leather Tustin.
3           10.    Specifically, on July 9, 2017, Plaintiff Fadness personally encountered on
4     particular occasions numerous barriers that prevented him from freely and fully and
5     equally accessing the Arizona Leather Tustin’s facilities, goods, services, and
6     accommodations in his wheelchair that are available to able-bodied customers. Among
7     other things, the aisles were not wide enough for him to maneuver his wheelchair,
8     making it impossible for him to access merchandise or to access displays and counter
9     spaces that were accessible to able-bodied customers. This set of circumstances is in
10    violation of ADAAG 4.2 et seq. and Title 24, Section 1118B et seq. Additionally, the
11    restroom at the store had exposed, un-insulated lavatory pipes that failed to be
12    configured to protect against contact, in violation of ADAAG Section 4.19.4 and Title
13    24 of the California Building Standards Code, Part 2, Chapter 11B, Section 1115B.2.1.
14    Finally, the door in the restroom required more than 5 lbs. of force to open, and thus
15    was not accessible in violation of Title 24, Section 1133B.2.5 and ADAAG Section
16    4.13.11(2)(b).
17                                 FIRST CAUSE OF ACTION
18        Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.
19                                    (Against All Defendants)
20          11.    Plaintiff incorporates by this reference the allegations contained in the
21    preceding paragraphs as if fully set forth herein.
22          12.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
23    provides: “No individual shall be discriminated against on the basis of disability in the
24    full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
25    accommodations of any place of public accommodation by any person who owns,
26    leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §
27    12182(a).
28
                                                  -3-
                                              COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 5 of 9 Page ID #:5



1           13.    Defendant’s Arizona Leather Tustin is a place of public accommodation
2     within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).
3           14.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful
4     discrimination to deny individuals with disabilities the opportunity to participate in or
5     benefit from the goods, services, facilities, privileges, advantages, or accommodations
6     of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).
7           15.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination
8     also includes, among other things: “a failure to make reasonable modifications in
9     policies, practices, or procedures, when such modifications are necessary to afford such
10    goods, services, facilities, privileges, advantages, or accommodations to individuals
11    with disabilities, unless the entity can demonstrate that making such modifications
12    would fundamentally alter the nature of such goods, services, facilities, privileges,
13    advantages or accommodations; and a failure to take such steps as may be necessary to
14    ensure that no individual with a disability is excluded, denied services, segregated or
15    otherwise treated differently than other individuals because of the absence of auxiliary
16    aids and services, unless the entity can demonstrate that taking such steps would
17    fundamentally alter the nature of the good, service, facility, privilege, advantage, or
18    accommodation being offered or would result in an undue burden”. 42 U.S.C. §
19    12182(b)(2)(A)(ii)-(iii).
20          16.    The acts alleged herein constitute violations of Title III of the ADA, and
21    the regulations promulgated thereunder. Defendant is denying Plaintiff, a persons with
22    disabilities, full and equal accommodations, advantages, facilities, privileges, or
23    services offered by Defendant.     Plaintiff has not been provided services that are
24    provided to other patrons who are not disabled, and/or have been provided services that
25    are inferior to the services provided to non-disabled persons. Defendant has failed to
26    take any prompt and equitable steps to remedy its discriminatory conduct. These
27    violations are ongoing
28
                                                 -4-
                                             COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 6 of 9 Page ID #:6



1           17.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set
2     forth and incorporated therein, Plaintiff requests relief as set forth below.
3                                  SECOND CAUSE OF ACTION
4         Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
5                                     (Against All Defendants)
6           18.    Plaintiff incorporates by this reference the allegations contained in the
7     preceding paragraphs as if fully set forth herein.
8           19.    The Unruh Civil Rights Act, Cal. Code, § 51, prohibits discrimination on
9     the basis of disability by “all business establishments of every kind whatsoever.”
10    Defendants are “business establishments” within the meaning of the California Civil
11    Code § 51 et seq. and as such, are obligated to comply with the provisions of the Unruh
12    Civil Rights Act. The Unruh Civil Rights Act guarantees, inter alia, that persons with
13    disabilities are entitled to full and equal accommodations, advantages, facilities,
14    privileges, or services in all business establishments of every kind whatsoever within
15    the jurisdiction of the State of California. Defendant is systematically and continuously
16    violating the Unruh Civil Rights Act, California Civil Code § 51 et seq., by denying full
17    and equal access to Plaintiff as they do to non-disabled persons.
18          20.    Each of Defendant’s violations of the Americans with Disabilities Act is
19    likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights Act
20    provides that any violation of the ADA constitutes a violation of the Unruh Civil Rights
21    Act. Cal. Civ. Code, § 51(f). Similarly, from December 31, 1981 until the present,
22    violations of the standards that have been set forth in Title 24 of the California Code of
23    Regulations (the “California Standards”) likewise constitute a violation of the Unruh
24    Civil Rights Act. The California Standards set forth design and construction standards
25    that require public accommodations to maintain in operable working condition those
26    features of facilities and equipment that are required to be accessible to and usable by
27    persons with disabilities.
28
                                                   -5-
                                               COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 7 of 9 Page ID #:7



1           21.    Defendant’s actions alleged herein constitute intentional discrimination
2     against Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
3     Cal. Civil Code § 51 et seq., in that Defendant is denying Plaintiff, a persons with
4     disabilities, full and equal accommodations, advantages, facilities, privileges, or
5     services offered by Defendant. Defendant has also violated the Unruh Civil Rights Act
6     by violating the ADA and California Standards, as set forth above. Defendant has
7     further violated the Unruh Civil Rights Act, by inter alia, failing to operate its services
8     on a nondiscriminatory basis and failing to ensure that persons with disabilities have
9     nondiscriminatory access to the Arizona Leather Tustin. In doing the acts and/or
10    omissions alleged herein, Defendant wrongfully and unlawfully denied access to the
11    Arizona Leather Tustin and its related facilities to individuals with disabilities and acted
12    intentionally and with knowledge of the effect its conduct was having on physically
13    disabled persons such as Plaintiff.
14          22.    Further, Defendant has violated the Unruh Civil Rights Act by having,
15    maintaining, establishing, or failing to abolish policies that discriminate against the
16    mobility impaired, which has resulted in the existence of barriers in Defendant’s
17    Arizona Leather Tustin.
18          23.    Plaintiff has been and is being deterred from patronizing Defendant’s
19    Arizona Leather Tustin on particular occasions as a result of his actual, personal
20    knowledge of the violations stated above. The actions of Defendant were and are in
21    violation of the Unruh Civil Rights Act, California Civil Code § 51 et seq., and,
22    therefore, Plaintiff is entitled to injunctive relief remedying the discrimination.
23          24.    Plaintiff is also entitled to statutory minimum damages pursuant to
24    California Civil Code § 52 for each and every offense.
25          25.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.
26                                    PRAYER FOR RELIEF
27          WHEREFORE, Plaintiff requests the following relief:
28
                                                   -6-
                                               COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 8 of 9 Page ID #:8



1           1.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
2     12188(a)(1) and (2) and section 52.1 of the California Civil Code enjoining Defendant
3     from violating the Unruh Civil Rights Act and ADA;
4           2.     An award of statutory minimum damages of $4,000 per offense pursuant to
5     section 52(a) of the California Civil Code;
6           3.     For attorneys’ fees and expenses pursuant to California Civil Code §§
7     52(a), 52.1(h), and 42 U.S.C. § 12205;
8           4.     For pre-judgment interest to the extent permitted by law;
9           5.     For costs of suit; and
10          6.     For such other and further relief as the Court deems just and proper.
11    Dated: July 20, 2018                   PACIFIC TRIAL ATTORNEYS, APC
12

13                                           By: /s/ Scott J. Ferrell
                                             Scott. J. Ferrell
14                                           Attorneys for Plaintiff
15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                   -7-
                                               COMPLAINT
     Case 8:18-cv-01269-CJC-JDE Document 1 Filed 07/20/18 Page 9 of 9 Page ID #:9



1                                DEMAND FOR JURY TRIAL
2            Plaintiff hereby demands a trial by jury of all claims and causes of action so
3     triable in this lawsuit.
4

5
      Dated: July 20, 2018                 PACIFIC TRIAL ATTORNEYS, APC

6
                                           By: /s/ Scott J. Ferrell
7                                          Scott. J. Ferrell
                                           Attorneys for Plaintiff
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                               -8-
                                           COMPLAINT
